          CASE 0:20-cr-00245-WMW-HB Doc. 1 Filed 10/27/20 Page 1 of 8



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                         UNITED STATES DISTRICT COI.]RT
                            DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA.                              II\TDICTMENT

                      Plaintiff,                        r8 u.s.c. $ 2
                                                        l8   u.s.c. $ 371
       v.                                               l8   U.S.c. $ e22(eXl)
                                                        l8   U.S.C. $ e2a(c)
 RICHARD ALONZO WOODS,                                  l8   u.s.c. $.e24(dxl)
     a./k/a "Woody,"                                    l8 U.S.c. $ 924(o)
                                                        18 U.S.c. $ e8l(a)(l)(C)
                     Defendant.                         l8 u.s.c. $ l9sl
                                                        l8 U.S.c. $ 2l l3(a)
                                                        r8 u.s.c. $ 2l l3(d)
                                                        2l u.s.c. $ 853G)
                                                        28 U.S.C. $ 2a6l(c)

THE UNITED STATES GRAND JURY CHARGES TTIAT:

                                        COUNT       1
                        (Interference with Commerce by Robbery)

      On or about February 4,2018, in the State and District of Minnesota, the defendant,

                             RICHARD ALONZO WOODS,
                                   alWa"Woody,"

aiding and abetting and being aided and abeffed and abetted by others, did knowingly and

unlawfully obstruct, delay and affect commerce and the movement of artibles and

commodities   in such commerce by robbery, in that the defendant did unlawfully             and

knowingly take and obtain clothing an'd accessories and U.S. currency, all the personal

property of Project SoZo, located in Minneapolis, Minnesota, a commercial business then

engaged   in and affecting   interstate commerce,   in the presence of at least one victim

employee, against his or her   will by means of actual       and threatened force, violence, and



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                                                                                      U.S. DISTRICT COURT MPLS
           CASE 0:20-cr-00245-WMW-HB Doc. 1 Filed 10/27/20 Page 2 of 8

United States v. Richard Alonzo Woods



fear of injury, immediate and future, to his or herperson, all in violation   ofTitle   18,   United

States Code, Sections 2 and 1951.

                                             COUNT 2
                                        (Armed Bank Robbery)

        On or about February 22,2018, in the State and District ofMinnesota, the defendant,

                                 RTCHARD ALONZO WOODS,
                                       alWa"Woody,"

by force, violence, and intimidation, did take from the person and presence of another,

approximately $6,191 in United States curency belonging to and in the care, custody,

control, management, and possession of Lake Area Bank, in White Bear Lake, Minnesota,

a bank whose deposits were then insured by the Federal Deposit Insurance Corporation,

and in committing such offenseo the defendant did assault and put in jeopardy the life            of

another person by the use of a dangerous weapon, that is a firearmo in violation of Title 18,

United States Code, Sections 2ll3(a) and2ll3(d).

                                             COUNT 3
                                        (Armed Bank Robbery)

       On or about May 4,2018, in the State and District of Minnesota, the defendant,

                                 RICHARDALONZO WOODS,
                                           alWa"Woody,"

by force, violence, and intimidltion, did take from the person and presence of another,

approximately $88,618 in United States currency belonging to and in the care, custody,

control, management, and possession of Bremer Bank, in Brooklyn Center, Minnesota, a

bank whose deposits were then insured by the Federal Deposit Insurance Corporation, and

in committing such offense, the defendant did assault and put in jeopardy the life ofanother
           CASE 0:20-cr-00245-WMW-HB Doc. 1 Filed 10/27/20 Page 3 of 8

United States v. Richard Alonzo Woods



person by the use of a dangerous weapon, that is a firearm, in violation of Title 18, United

States Code, Sections     2ll3(a) and2ll3(d).

                                        COI'NT 4
             (Carrying a Firearm During and in Relation to a Crime of Violence)

        On or about February 4,2018, in the State and District ofMinnesota, the defendant,

                                 RTCHARD ALONZO WOODS,
                                       alUa"Woody,"

did knowingly brandish, use, and carry a firearm during and in relation to a crime of

violence for which he may be prosecuted in        a   court ofthe United States, that is, Interference

with Commerce by Robbery,          as alleged   in Count   I of this Indictment,   in violation of Title

18, United States Code, Section         92a@)0)(Axii).

                                       COIJNT 5
            (Carrying a Firearm During and in Relation to a Crime of Violence)

        On or about February 22,2018, in the State and District ofMinnesota, the defendant,

                                 RTCHARD ALONZO WOODS,
                                       alWa"Woody,"

did knowingly brandish, use, and carry a firearm during and in relation to a crime of

violence for which he may be prosecuted in a court of the United States, that is, Armed

Bank Robbery, as alleged in Count 2 of this Indictment, in violation of Title 18, United

States Code, Section 92a(cX I XAXii).

                                       COUNT 6
            (Carrying a Firearm During and in Relation to a Crime of Violence)

       On or about May 4, 2018, in the State and Disfrict of Minnesota, the defendant,

                                 RICHARD ALONZO WOODS,
                                       a.4sla "Woody,"
           CASE 0:20-cr-00245-WMW-HB Doc. 1 Filed 10/27/20 Page 4 of 8

United States v. Richard Alonzg Woods




did knowingly brandish, use and carry a firearm during and in relation to a crime of

violence for which he may be prosecuted in a court of the United States, that is, Armed

Bank Robbery, as alleged in Count 3 of this Indictment, in violation of Title 18, United

States Code, Section 924@)0)(AXii).

                                              COUNT 7
                                  (Felon in Possession of   a Firearm)


        On or about May      2l   and May 22,2018, in the State and District of Minnesota, the

defendant,

                                  RICHARD ALONZO WOODS,
                                        a./k/a "Woody,"


having previously been convicted of the following crimes, each of which was punishable

by imprisonment for a term exceeding one year:

  Date (on or about)                        Crime                           Jurisdiction

 December 18.2002             Third Degree Controlled               Ramsey County, Minnesota
                              Substances Sale

 February 5,2003             Third Degree Controlled                Ramsey County, Minnesota
                              Substances Sale

 February 3,2005              Check Forgery                         Ramsey County, Minnesota

 August 16,2006              Possession of Firearm          bv   an Ramsey County, Minnesota
                             Ineligible Person

 August 21,2006              Fifth Degree Controlled                Ramsey County, Minnesota
                              Substances Possession
January 31,2013              Felon in Possession of a Firearm       Federal District   of
                                                                    Minnesota




                                                  4
              CASE 0:20-cr-00245-WMW-HB Doc. 1 Filed 10/27/20 Page 5 of 8

United States v. Richard Alonzo Woods



and knowing that he had been convicted of at least one crime punishable by imprisonment

for   a   term exceeding one year, knowingly possessed, in and affecting interstate commerce,

firearms, that is,    (l)   a Glock, model 27, semiautomatic .40-caliber pistol, bearing serial

number BXLI96, and (2)           aH & K    semiautomatic handgun, all in violation of Title 18,

United States Code, Sections 922(e)Q).

                                              COI'NT 8
                                (Conspiracy   - Armed Bank Robbery)
           From at least on or about February 22,2018, and continuing through at least on or

about May 4,2018, in the State and District of Minnesota, the defendant,

                                  RICHARD ALONZO WOODS,
                                        aMa"Woody,"

knowingly and intentionally conspired with others, known and unknown to the grand jury,

to take by force,.violence, and intimidation from the person and presence of another,

approximately $6,191 in United States curency belonging to and in the care, custody,

confrol, management and possession of Lake Area Bank in White Bear Lake, Minnesota,

and approximately $88,618 in United States curency belonging to and in the care, custody,

control, management, and possession of Bremer Bank in Brooklyn Center, Minnesota,

banks whose deposits were then insured by the Federal Deposit Insurance Corporation. In

committing such offenses, the defendant did assault and put in jeopardy the life of another

person by the use of a dangerous weapon, that is a firearm.
             CASE 0:20-cr-00245-WMW-HB Doc. 1 Filed 10/27/20 Page 6 of 8

United States v. Richard Alonzo Woods



                                            Overt Acts

         In furtherance of the conspiracy and to achieve the objectives and purposes thereof,

the defendant and other persons known and unknown to the Grand Jury, committed and

caused the commission of the following'overt acts in the District of Minnesota:

    l.    The defendant and others known and unknown to the Grand Jury, wore masks and

          gloves to hide their identities and facilitate the robberies.

    2.    The defendant and others known and unknown to the Grand Jury, drove past the

          Lake Area Bank for the purpose of casing the bank in advance of the robbery.

    3.    On or about February 22,2018, the defendant and others known and unknown to

          the Grand Jury, possessed firearms in furtherance of the bank robbery conspiracy.

    4. On or about May 4, 2018, the defendant           and others known and unknown to the

          Grand Jury, possessed firearms in furtherance of the bank robbery conspiracy.

    5.    The defendant and'others known and unknown to the Grand Jury, used walkie-

          talkies to communicate with each other during the Bremer Bank Robbery on May

         4,2018.

    6. Following     both the February 22,2018 and May 4,2018 robberies, the defendant

          divided the proceeds of the bank robberies with his co-conspirators.

all in violation of Title 18, United States Code, Sections 371,2113(a), and2ll3(d).

                                             COIJNT 9
           (Conspiracy To Possess Firearms in Furtherance of a Crime of Violence)

         From at least on or about February 4,2018, and continuing through at least on or

about May 4, 2018, in the State and District of Minnesota and elsewhere, the defendant,


                                                  6
             CASE 0:20-cr-00245-WMW-HB Doc. 1 Filed 10/27/20 Page 7 of 8

United States v. Richard Alonzo Woods



                                 RTCHARD ALONZO WOODS,
                                       alWa"Woody,"
                                                                                                  l
knowingly and intentionally conspired with others, known and unknown to the grand jury,

to possess firearms in furtherance of a crime of violence for which they may be prosecuted

in a court ofthe United States, that is, Interference with Commerce by Robbery and Armed

Bank Robbery, charged in Counts l-3 of this Indictment, all in violation of Title 18, United

States Code, Sections     92a(cXlXaXii) and 924(o).                                               l



                               FORFEITURB ALLEGATIONS
                   If convicted of any Count of this Indictnent, the defendant,

                                 RICHARD ALONZO WOODS,
                                       alUa"Woody,"

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

924(d)(l) and Title 28, United States Code, Section 2461(c),any firearms, ammunition and

accessories (including magazines) involved in or used in any knowing violation of Title

18, United States Code Sections 922,924,1951,        and2ll3.

        The defendant shall forieit to the United States pursuant to Title 18, United States

Code, Section 981(aXlXC)_ and Title 28, United States Code, Section 2461(c), any

properly, redl or personal, which constitutes or is derived from proceeds traceable to the

violations ofTitle 18, United States Code, Sections     l95l   and 2113.

        If   any of the above-described forfeitable property is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute property as provided for in Title

21, United States Code, Section 853(p), as incorporated by Title 28, United States Code,

Section 2461(c).


                                                7
           CASE 0:20-cr-00245-WMW-HB Doc. 1 Filed 10/27/20 Page 8 of 8

United States v. Richard Alonzo Woods



                                        A TRUE BILL




            STATES ATTORNEY                     FOREPERSON
